Case 2:16-md-02724-CMR Document 1091-1 Filed 09/13/19 Page 1 of 9




              APPENDIX A
          Case 2:16-md-02724-CMR Document 1091-1 Filed 09/13/19 Page 2 of 9




    Jan P. Levine                                                Saul P. Morgenstern                          Laura S. Shores
    3000 Two Logan Square                                         250 W. 55th Street         601 Massachusetts Avenue, NW
    Eighteenth and Arch Streets                                 New York, NY 10019                    Washington, DC 20001
    Philadelphia, PA 19103-2799                                  Tel: (212) 836-8000                     Tel: (202) 942-5000
    Tel: (215) 981-4714                                          Fax: (212) 836-8689                     Fax: (202) 942-5999
    Fax: (215) 981-4750                                  saul.morgenstern@arnoldporter.com    laura.shores@arnoldporter.com
    levinej@pepperlaw.com




    Chul Pak                                                                                                 Sheron Korpus
    1301 Avenue of the Americas, 40th Fl.                                                                   1633 Broadway
    New York, NY 10019                                                                          New York, New York 10019
    Tel: (212) 999-5800                                                                                Tel: (212) 506-1700
    Fax: (212) 999-5899                                                                                Fax: (212) 506-1800
    cpak@wsgr.com                                                                                   skorpus@kasowitz.com

                                                   July 29, 2019

Via Email

David H. Marion, Esq.
Special Master
WHITE AND WILLIAMS LLP
1650 Market Street, Suite 1800
Philadelphia, PA 19103

              Re:       In re: Generic Pharmaceuticals Pricing Antitrust Litigation
                        16-MD-2724 (E.D. Pa.)

Dear Special Master Marion,

As you requested, we are submitting on behalf of Defendants a proposed case management order
(Attachment 1) and a memorandum addressing Plaintiffs’ improper request for the production of
entire custodial files (Attachment 2), without the application of any search terms, which is
contrary to the Federal Rules of Civil Procedure.1

As you will see, the enclosed case management order is based on your proposed structure and
adopts several of your suggested provisions. We have adopted a phased approach, as
contemplated by both you and Judge Rufe, enabling the parties to proceed with class certification
and then summary judgment on a large subset of the currently pending cases.



1
 Defendant Ascend is not able to join this proposed schedule because it has not been served with
discovery. Accordingly, all references herein to “Defendants” exclude Ascend.
      Case 2:16-md-02724-CMR Document 1091-1 Filed 09/13/19 Page 3 of 9
Special Master Marion                                                                       Page 2
July 29, 2019

You will also see that this draft proposes an ambitious schedule that contemplates reaching the
first major inflection point—complete submission of class certification issues on a set of cases—
by January 29, 2021, followed promptly by briefing on summary judgment. Although
Defendants believe that this schedule will impose substantial demands on them given the current
state of the case, we are willing to invest the resources necessary and use our best efforts to meet
this schedule, to accommodate the Court’s stated objectives in a manner consistent with the law,
rules and due process.

By proceeding to class certification and then summary judgment with a defined universe of cases
and drugs, we are confident that the issues for the parties will be narrowed, as they were after the
Court decided the first tranche of motions to dismiss.

At the same time, for efficiency, most Defendants are willing to expand some discovery beyond
the drugs at issue in the proposed first phase. Plaintiffs now contend that the most common
methodology for searching documents used for decades in alleged conspiracy cases will fail to
find the “relationship” documents they seek. Having reviewed Plaintiffs’ RFPs, we believe that
such documents fall well within two broad requests they have propounded. In order to address
their concern, and create some long term discovery efficiencies in this case in light of your
proposed phasing, Defendants named in those cases placed on the suspense docket are willing to
waive a significant discovery limitation, to which Plaintiffs had agreed in previous negotiations,
for the two aforementioned broad Plaintiff-drafted RFPs. Those Defendants would dispense
with the limitation to specific drug names for those RFPs (which we have identified in the
proposed order), and thus would not limit the searches relating to those RFPs only to documents
referencing the drugs in the “active” cases within your proposed construct. Because those
searches likely would also sweep in voluminous documents related to the many legitimate and
routine business ventures drug companies enter into with each other, we also built in a provision
that would direct SDM Merenstein, in short order, to discuss search terms aimed at excluding
such irrelevant documents, to the extent possible, from the population to be reviewed.

Thus, discovery would proceed in accordance with the Federal Rules—starting with the
document requests themselves, using search terms designed to capture the universe of documents
likely to include responsive documents, and then producing the responsive non-privileged
documents found on review.

We look forward to discussing this with you in person on August 1st.

                                               Respectfully submitted,

                                               Jan P. Levine             Sheron Korpus
                                               Saul P. Morgenstern       Chul Pak
                                               Laura S. Shores

                                               Defense Liaison Counsel

cc:    Special Discovery Master Bruce Merenstein
       Special Master for ESI Daniel Regard
Case 2:16-md-02724-CMR Document 1091-1 Filed 09/13/19 Page 4 of 9




         ATTACHMENT 1
     Case 2:16-md-02724-CMR Document 1091-1 Filed 09/13/19 Page 5 of 9



            DEFENDANTS’ PROPOSED CASE MANAGEMENT ORDER

1.   The following shall control the management and schedule, for discovery and through

     summary judgment, for cases pending as of March 20, 2019 (“Phase I” cases).

2.   Complaints filed on or after March 20, 2019 (“Later-Filed Complaints”) will be placed in

     a “Suspense Docket” postponing any further proceedings on such complaints.

3.   Discovery in all Phase I cases shall proceed as follows:

        a. Scope of document discovery: Search terms will be applied to custodial files to

            identify the universe of documents from those files that will be reviewed for

            purposes of responding to any Requests for Production served in connection with

            any Phase I case, in accordance with the ESI protocol [PTO 95].

        b. Among the 91 Requests for Production that Plaintiffs served on Defendants in

            February 2018 are the following:

                 i. “All documents concerning any communication between two or more

                    Defendants or competitors concerning prices, pricing, pricing policies or

                    practices, bids, customers, customer allocation, territory allocation,

                    competitive conditions, marketing, production, or sales of Your generic

                    pharmaceuticals” (RFP 21); and

                ii. “All documents concerning the allocation of customers, territories, or

                    geographic markets for generic pharmaceuticals between two or more

                    Defendants or competitors” (RFP 23).

        c. Plaintiffs have reached agreements with many Phase I Defendants to narrow the

            scope of the foregoing requests by limiting them to documents concerning specific

            drugs. Notwithstanding those prior agreements or rulings by the Special Discovery
Case 2:16-md-02724-CMR Document 1091-1 Filed 09/13/19 Page 6 of 9



      Master, Defendants that have been named in both a Phase I case and a Later-Filed

      Complaint will conduct a reasonable search for documents responsive to the

      requests listed in 3(b) by searching agreed-upon custodians’ files using agreed-

      upon search terms, but without limitation to specific drugs. All prior agreements

      with Defendants that are only named in a Phase I case shall remain in place.

   d. No later than five days from entry of this order, Plaintiffs and those Defendants

      named in both a Phase I case and a Later-Filed Complaint shall submit to the

      Special Discovery Master competing proposed search terms to be applied to

      custodial files in order to identify the universe of documents to be reviewed for

      responsiveness to RFPs 21 and 23, without sweeping within them all documents

      pertaining to commercial arrangements in the ordinary course of business and

      irrelevant business transactions between or among particular Defendants and/or

      competitors, which are not responsive to RFPs 21 and 23. The Special Discovery

      Master shall resolve any disputes concerning these proposed search terms within

      30 days of the submission of the proposals.

   e. As of the date of this order, many parties have been meeting and conferring on

      search methodologies and custodians. Such meetings shall conclude promptly, and

      any disputes that arise from such meetings other than those addressed in 3.d. shall

      be submitted to the Special Discovery Master within 20 days of entry of this order,

      with disputes to be resolved promptly thereafter.

   f. The remainder of document discovery, including the production of structured data

      and non-custodial unstructured data in Phase I cases, shall proceed in accordance




                                       2
     Case 2:16-md-02724-CMR Document 1091-1 Filed 09/13/19 Page 7 of 9



            with the parties’ prior agreements and the Special Discovery Master’s prior and any

            future rulings.

        g. Timing:

                i. Custodial and non-custodial document productions and responses to any

                    written discovery in all Phase I cases issued before March 20, 2019 is to be

                    substantially completed, absent agreement of the requesting and producing

                    parties or upon good cause shown to the Special Masters or the Court, by

                    April 30, 2020. Production of privilege logs shall be made within a

                    reasonable time following the substantial completion of document

                    production as agreed under the ESI Protocol (§ 11.7). All parties shall

                    commence initial productions of documents no later than October 1, 2019.

                ii. All transactional data relating to the drugs at issue in the Phase I cases shall

                    be produced in accordance with the parties’ agreements as to scope no later

                    than November 1, 2019, absent agreement of the requesting and producing

                    parties or upon good cause shown to the Special Masters or the Court.

               iii. Depositions of fact witnesses may be noticed beginning November 12,

                    2019, and, absent good cause, shall be completed by August 28, 2020.

               iv. If a witness is deposed in the Phase I cases and is also later deposed in

                    connection with subsequent Phase cases, the parties shall not inquire into

                    matters or topics in later depositions that were the subject of inquiry in

                    Phase I depositions of the same witness.

4.   Class Certification in Phase I cases alleging overarching conspiracies shall proceed

     pursuant to the following schedule:



                                               3
     Case 2:16-md-02724-CMR Document 1091-1 Filed 09/13/19 Page 8 of 9



        a. Motions for class certification in the Phase I cases alleging overarching

            conspiracies shall be filed by September 7, 2020. Plaintiffs in such cases shall

            simultaneously serve expert reports on which they rely for class certification.

        b. Depositions of plaintiffs’ class certification experts shall be completed by October

            5, 2020.

        c. Oppositions to class certification in Phase I overarching conspiracy cases shall be

            filed by November 16, 2020. Defendants in such cases shall simultaneously serve

            expert reports on which they rely in opposition.

        d. Depositions of defendants’ experts shall be completed by December 7, 2020.

        e. Replies in support of class certification shall be filed, and supporting expert reports

            served, by December 18, 2020.

        f. Depositions of plaintiffs’ class certification reply experts shall be completed by

            January 15, 2021.

        g. Sur-replies in opposition to class certification shall be filed by January 29, 2021.

        h. The hearing on class certification shall be set as a date to be determined by the

            Court.

5.   Merits Expert Discovery in Phase I cases alleging an overarching conspiracy shall proceed

     as follows:

        a. Plaintiffs shall serve merits expert reports no later than November 2, 2020.

            Plaintiffs’ merits experts shall be made available for deposition no later than

            December 18, 2020.




                                              4
     Case 2:16-md-02724-CMR Document 1091-1 Filed 09/13/19 Page 9 of 9



        b. Defendants shall serve merits expert reports no later than January 29, 2021.

            Defendants’ merits experts shall be made available for deposition no later than

            March 5, 2021.

        c. Plaintiffs shall serve merits expert rebuttal reports no later than April 2, 2021.

            Plaintiffs’ merits rebuttal experts shall be made available for deposition no later

            than May 14, 2021.

6.   Summary Judgment in Phase I cases alleging an overarching conspiracy shall proceed as

     follows:

        a. Motions and supporting briefs shall be filed no later than 30 days after disposition

            of motions for class certification.

        b. Oppositions shall be filed 60 days thereafter.

        c. Replies shall be filed 45 days after the filing of oppositions.

7.   All remaining Phase I class certification and summary judgment motions shall be fully

     briefed prior to Phase II cases being removed from the Suspense Docket. Motions for class

     certification and summary judgment in Phase II cases shall not be filed until the Court has

     ruled upon such motions in Phase I cases.




                                              5
